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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

      v.
                                                  Crim No.: 17-232 (EGS)
 MICHAEL T. FLYNN,

                         Defendant



      COVINGTON & BURLING LLP’S NOTICE OF APPEARANCE PURSUANT
              TO THE COURT’S MAY 7, 2020 MINUTE ORDER

       By a Minute Order on May 7, 2020 (Dkt. 196) (“Minute Order”), the Court directed the

Clerk of Court to add Covington & Burling LLP (“Covington”) as an interested party in this

matter and directed counsel for Covington to file a notice of appearance on behalf of Covington

as an interested party. Undersigned counsel provides this notice of appearance on behalf of

Covington, in accordance with the Minute Order.




Dated: May 14, 2020                         Respectfully submitted,



                                             /s/ John E. Hall
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                                            Counsel for Covington & Burling LLP
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of May 2020, I caused the foregoing to be

sent by electronic mail to the following:


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